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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


   MICHAEL GONIDAKIS, et al.,
                    Plaintiffs,

          v.

   FRANK LAROSE, in his official capacity,                 Case No. 2:22-cv-773
                       Defendant,
                                                           Chief Judge Algenon L. Marbley
   and
                                                           Circuit Judge Amul R. Thapar
   SENATOR VERNON SYKES and HOUSE
   MINORITY LEADER ALLISON RUSSO, in their                 Judge Benjamin J. Beaton
   capacities as members of the Ohio
   Redistricting Commission,                               (Three-Judge District Court)
                        Intervenors-
                        Defendants.

               Opposition of Intervenors-Defendants Senator Vernon Sykes and
                           House Minority Leader Allison Russo to
                   Plaintiffs’ Motion for a Temporary Restraining Order

         The plaintiffs pitch their motion as a modest proposal to temporarily maintain the status

  quo. But their proposal is modest only in the Swiftian sense. The “current status quo,” as Secretary

  LaRose has admitted, ECF No. 88 at 2, is not “implementing the Third Plan adopted by the Ohio

  Redistricting Commission,” ECF No. 84 at 1. To the contrary, that plan is not being implemented

  because the Ohio Supreme Court has squarely held that it violates the Ohio Constitution.

         So what the plaintiffs are asking this Court to do, then, is not to preserve the status quo, but

  to change it by directing the Secretary of State to violate state constitutional law—and the orders of

  the Ohio Supreme Court—while the state-court litigation and map-drawing process it oversees are

  ongoing. They cite no precedent authorizing this extraordinary step, and it is hard to imagine an

  action by a federal court that would be more disruptive and disrespectful to a sovereign State.


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         The plaintiffs’ theory for why this is necessary depends on a prediction that, absent relief,

  there will be a primary election on May 3 with no map at all, which in turn will injure them by

  denying their right to vote. But this prospect of future injury, far from being the kind of “certainly

  impending” injury that a federal court may redress, Clapper v. Amnesty Int’l USA, 568 U.S. 398, 401

  (2013), is wildly speculative. For one thing, “it depends on how legislators respond” to the Ohio

  Supreme Court’s decision, “speculating that elected officials” will sit on their hands and refuse to

  reschedule the primary to allow the map-making process to continue. See DaimlerChrysler Corp. v.

  Cuno, 547 U.S. 332, 344 (2006) (holding that speculation of this kind will not support standing). For

  another, it depends on the Ohio Supreme Court denying a motion filed on Monday by Senator

  Sykes and Leader Russo to move the primary date to late June, a motion that is now fully briefed

  and ripe for decision. Only if both events were to occur—that is, only if two different branches of

  Ohio’s government permit a map-less primary—could there be any injury. But the plaintiffs cite

  no example of that happening. And there is no basis for concluding that it is “certainly impending.”

         Just the opposite: It is certain not to happen. Indeed, the plaintiffs admit that, were this

  Court to deny the requested relief, the state primary will not occur on May 3—thereby avoiding

  the very injury that the motion seeks to redress. See ECF No. 84 at 3 (“Without statewide legislative

  districts, there cannot be a May 3, 2022, primary election.”). And Secretary LaRose, for his part,

  does the same. See ECF No. 88 at 3. He has admitted that “the May 3, 2022 primary election is no

  longer looming for the state legislative races,” because it “will have to be held at a later date.” ECF

  No. 76 at 2. In other words: No injury will come to pass—much less an irreparable one warranting

  the kind of “extraordinary and drastic remedy” sought here, for which “the movant, by a clear showing,

  carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam).

         The same problem can be seen through the lens of redressability. Even assuming that the

  risk of future injury here were sufficient to support federal jurisdiction, the question would then be:

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  What is the best way to redress that potential injury? Is it through the State’s process, where two

  independent branches are able to reschedule the primary to avoid the injury—and, in doing so, to

  allow the state-court proceedings to continue making progress toward a map that complies with

  both state and federal constitutional law? Or is it through this newly-empaneled federal court, via

  an unprecedented order directing a state official to violate state law—an order that, according to

  Secretary LaRose, must be issued by the close of business today to have any hope of redressing any

  potential injury? See ECF No. 88 at 3. Those questions practically answer themselves.

         And even if they didn’t, Justice Scalia’s unanimous opinion in Growe v. Emison would settle

  the matter. Under that precedent, the general rule is that “federal judges [must] defer consideration

  of disputes involving redistricting where the State, through its legislative or judicial branch, has

  begun to address that highly political task itself.” 507 U.S. 25, 33 (1993). This rule reflects our

  constitutional scheme, under which “reapportionment is primarily the duty and responsibility of

  the State”—not “of a federal court.” Id. at 34. The plaintiffs’ motion turns Growe’s rule on its head,

  asking this Court to “race to beat the [Ohio Supreme Court] to the finish line.” Id. at 37.

         The sole exception to Growe’s rule is a narrow one: where the record shows that “the state

  court [is] either unwilling or unable to adopt a congressional plan in time for the elections.” Id. at

  34. Here, this exception could be satisfied only if (1) the May 3 primary date were an immovable

  object on the horizon, or (2) the state-court process were at its end. Neither is remotely true.

         1. Again, either the Ohio legislature or the Ohio Supreme Court may move the election.

  The Ohio Supreme Court has the authority to suspend or modify election-related deadlines to

  protect the constitutional rights of Ohioans and to ensure that they may vote under constitutional

  maps, and other state high courts have recently done just that. See, e.g., Carter v. Chapman, No. 7 MM

  2022, 2022 WL 549106 (Pa. Feb. 23, 2022) (modifying congressional and statewide election calendar

  due to impasse and noting the suspension of state legislative election deadlines until resolution of

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  litigation); In re 2022 Legis. Districting of the State, Misc. Nos. 21, 23, 25, 26, 27, Sept. Term 2021, (Md.

  Mar. 15, 2022) (modifying primary election calendar), at https://perma.cc/LLX6-LZET. There is

  no basis for concluding that the Ohio Supreme Court is “unwilling” or “unable” to do the same,

  Growe, 507 U.S. at 37—particularly given that it is poised to rule on a motion to move the primary

  date any day now. Were the Court to grant the motion, it would definitively prove that a suit in

  federal court is not “the only avenue” to achieve compliance with the law, as the plaintiffs contend.

  ECF No. 73 at 1. Quite the contrary: Given that the only relief currently sought by the plaintiffs is

  an order authorizing implementation of a map that violates state law, the “only avenue” to produce

  a map that complies with both state and federal law would be the state-court process, not this case.

          In short, the motion’s key premise—that the primary date cannot be moved—is incorrect.

  As Secretary LaRose has admitted, the primary “will have to be held at a later date.” ECF No. 76

  at 2. And, acknowledging this reality, the Ohio legislature could decide to move the primary itself.

          2. Meanwhile, the state map-making process continues apace. Rather than suggest that it

  is “unwilling or unable,” Growe, 507 U.S. at 37, the Ohio Supreme Court has shown itself fully

  capable of moving quickly, and its most recent opinion continues to advance the process by going

  further than its prior opinions. Recognizing that the previous maps were “drawn entirely by

  Republican legislators on the Commission,” without input from Senator Sykes or Leader Russo,

  the Court ordered “that the commission draft and adopt an entirely new [map] that conforms with

  the Ohio Constitution,” and that “the drafting should occur in public and the commissioners

  should convene frequent meetings to demonstrate their bipartisan efforts to reach a constitutional

  plan” by March 28. Slip. Op. 8, 19, at https://perma.cc/FP6E-TL97. The Court gave a clear

  roadmap for how this process should be conducted: “The commission should retain an

  independent map drawer—who answers to all commission members, not only to the Republican

  legislative leaders—to draft a plan through a transparent process.” Id. at 12.

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          Since then, the Commission has acted promptly to comply with the Court’s opinion. It has

  agreed to meet every day between now and March 28 (when the map is due to the Ohio Supreme

  Court), and those meetings are already scheduled and cannot be cancelled without Senator Sykes’

  consent. See Meetings, Ohio Redistricting Commission, at https://redistricting.ohio.gov/meetings;

  ECF No. 76 at 2 (“The Commission is going to convene and work to comply with the Court’s

  Order.”). The Commission has also agreed to contract with two expert mapmakers who will work

  on behalf of the Commission as a whole, and not any particular party or Commissioner, which has

  never happened before. Those experts have already been identified, the Commission unanimously

  agreed to retain them, the Co-Chairs have signed their engagement letters, and they will meet with

  the Commission during the scheduled meeting tonight to begin their work. In addition, the

  Commissioners have all agreed that these mapmakers will follow the Constitution and the decisions

  of the Ohio Supreme Court. And the Task Force on Redistricting, earlier this afternoon, allocated

  $200,000 to the Commission from the Task Force budget. Finally, the Commission has agreed to

  use the services of the Sixth Circuit’s mediation office, including the head of the office, Cathy Geier,

  and other office mediators, to help them resolve any issues that may arise. The Sixth Circuit is not

  charging for use of these mediators, so they are not “retained” in a formal sense. But the

  Commission, after hearing from Ms. Geier, adopted a resolution to use their services.

          Nothing in this ongoing process allows the plaintiffs to make their necessary showing under

  Growe. The Ohio Supreme Court is plainly “willing” to oversee the process to produce a new,

  constitutional map. And the Court is also “able” to do so, having the power to move the primary

  deadlines and grant further relief if necessary. In addition, the Court was asked by one of the parties

  to declare an impasse, and (despite the pendency of this case) it declined to do so in its most recent

  opinion. See Petitioners’ Objections, Ohio Organizing Collaborative v. Ohio Redistricting Comm’n, No. 2021-

  1210, at 2–3 (filed Feb. 28, 2022) (“If the Court concludes that it cannot secure the Commission’s

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  compliance with the Ohio Constitution, . . . then it should declare an impasse, after which a federal

  court would implement federal remedies, with due respect for state law.”); Slip Op. 19 (“We deny

  petitioners’ requests for additional relief at this time.”). There is no reason for this Court to second-

  guess that determination here, especially given the request to move the primary deadlines.

          By contrast, there is every reason to deny the relief requested and to defer to the state-court

  process under Growe. As already noted, our Constitution makes clear that “reapportionment is

  primarily the duty and responsibility of the State.” Growe, 507 U.S. at 34. The Ohio Supreme Court

  is intensely engaged in “address[ing] that highly political task itself,” and it can do so in “as timely

  a manner” as this Court, id. at 33–37—particularly if that Court extends the primary deadlines. For

  that reason, this Court must “stay its hands” and deny the requested relief. Id. at 32 (cleaned up).

                                          Respectfully submitted,

                                          /s/ Jonathan E. Taylor
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                                CERTIFICATE OF SERVICE

         I certify that on March 23, 2022, I filed this opposition through this Court’s CM/ECF

  system. All participants in this case are registered CM/ECF users and will be served by the

  CM/ECF system.

                                                          /s/ Jonathan E. Taylor
                                                          Jonathan E. Taylor




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